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UNITED STATES DISTRICT COURT                                       USDC SDNY
SOUTHERN DISTRICT OF NEW YORK                                      DOCUMENT
---------------------------------------------------------------X   ELECTRONICALLY FILED
                                                                   DOC #: __________________
UNITED STATES OF AMERICA                                           DATE FILED: November 6, 2020



                                                                           18-CR-00769 (KMW)
                 v.                                                              ORDER



CIRO SAMA,

                           Defendant.
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KIMBA M. WOOD, District Judge:

        On November 3, 2020, the Government responded to Defendant Ciro Sama’s motion to

reduce his sentence under the federal compassionate release statute, 18 U.S.C. § 3582(c)(1)(A).

(ECF No. 59.)

        The Court granted Defendant’s request for the Court to appoint counsel for him and

appointed Mark Gombiner, Defendant’s prior counsel, to assist Defendant with his motion for

compassionate release. (ECF No. 58.) No later than November 25, 2020, Defendant shall

respond to Government’s opposition.


SO ORDERED.

 Dated: New York, New York
        November 6, 2020                                             /s/ Kimba M. Wood
                                                                      KIMBA M. WOOD
                                                                   United States District Judge
